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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF KENTUCKY
                                OWENSBORO DIVISION

 In Re:                                             Case No. 17-40811-acs

 Scott Cavender
                                                    Chapter 13
 Tracey Cavender

 Debtors.                                           Judge Alan C. Stout

                                   CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Notice of Mortgage Payment Change was served by
the method set forth below, upon the below listed parties on May 18, 2021.

By Notice of Electronic Filing to:

          Steven D. Wilson, Debtors’ Counsel
          swilson@wilkeylaw.com

          William W. Lawrence, Chapter 13 Trustee
          ecf@louchapter13.com

          John L. Daugherty, Office of the U.S. Trustee
          ustpregion08.lo.ecf@usdoj.gov

By United States mail to:

          Scott Cavender, Debtor
          2251 Ponder Place
          Owensboro, KY 42301
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     Tracey Cavender, Debtor
     2251 Ponder Place
     Owensboro, KY 42301

                                                Respectfully Submitted,

                                                /s/ Molly Slutsky Simons
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